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                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA




   JAMES RUTHERFORD,                    EDCV 18-2658 DSF (SPx)
      Plaintiff,
                                        Order DENYING Motion for
                    v.                  Leave to Amend (Dkt. No. 24)

   SAIGON DISH, et al.,
       Defendants.



      Plaintiff moves for leave to amend his complaint. The Court’s
   scheduling order set the date of July 22, 2019 as the last date for
   hearing a motion for leave to amend. See Dkt. 22 at I.A. Because
   the motion for leave to amend was filed for hearing after that
   deadline, Rule 16’s good cause standard applies. Coleman v.
   Quaker Oats Co., 232 F.3d 1271, 1294 (9th Cir. 2000). Plaintiff
   has not attempted to show good cause for the proposed
   amendment.

      The motion is DENIED.

      IT IS SO ORDERED.


   Date: August 22, 2019                ___________________________
                                        Dale S. Fischer
                                        United States District Judge
